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 245 F ISCHER A VENUE , U NIT D1
    C OSTA M ESA , CA 92626




                                   14
                                      Attorneys for Plaintiff,
                                   15 Florence Morris
                                   16                      UNITED STATES DISTRICT COURT
                                                         SOUTHERN DISTRICT OF CALIFORNIA
                                   17
                                   18 FLORENCE MORRIS,                           Case No.:   '17CV0511 BEN AGS
                                      Individually and On Behalf of All
                                   19 Others Similarly Situated,                 CLASS ACTION
                                   20
                                                    Plaintiff,                   COMPLAINT FOR DAMAGES AND
                                   21                                            INJUNCTIVE RELIEF PURSUANT
                                                             v.                  TO:
                                   22
                                   23                                            THE FAIR CREDIT REPORTING
                                        TRANS UNION, LLC,                        ACT, 15 U.S.C. § 1681 ET SEQ.
                                   24
                                   25               Defendant.                   JURY TRIAL DEMANDED

                                   26
                                   27
                                   28

                                        CLASS ACTION COMPLAINT               1
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                                   1
                                                                           INTRODUCTION
                                   2
                                         1.   Florence Morris (“Plaintiff”) brings this Class Action Complaint for damages,
                                   3
                                              injunctive relief, and any other available legal or equitable remedies, resulting
                                   4
                                              from the illegal actions of Trans Union, LLC (“Defendant” or “Trans
                                   5
                                              Union”), for willfully violating the Fair Credit Reporting Act, 15 U.S.C. §
                                   6
                                              1681, et seq. (“FCRA”).         Plaintiff alleges as follows upon personal
                                   7
                                              knowledge as to herself and her own acts and experiences, and, as to all other
                                   8
                                              matters, upon information and belief, including investigation conducted by
                                   9
                                              her attorney.
                                   10
                                         2.   Defendant is a “consumer reporting agency” under the FCRA that provides
                                   11
                                              consumers with their credit reports. The FCRA-governed content of these
                                   12
                                              credit reports is determined by the secretion of consumer reporting agencies
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                                   13
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                                              such as Defendant. Defendant continuously misrepresents the source of the
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                                   14
                                              public record information (such as bankruptcies and civil judgments)
                                   15
                                              Defendant publishes on credit reports (“Public Record Information”) in order
                                   16
                                              to circumvent costs associated with purchasing the records from the actual
                                   17
                                              source in violation of 15 U.S.C. § 168lg(a)(2).
                                   18
                                         3.   Defendant works closely with vendors such as LexisNexis to obtain the
                                   19
                                              Public Record Information, then Defendant represents on credit reports, that
                                   20
                                              the Public Record Information originated from a public record such as a court
                                   21
                                              or government entity, rather than the actual source, which is LexisNexis or
                                   22
                                              another vendor.
                                   23
                                         4.   This practice deceives consumers and limits consumers’ access to the true
                                   24
                                              source of Public Record Information, therefore preventing consumers from
                                   25
                                              directly addressing the true source of Public Record Information in order to
                                   26
                                              ameliorate any errors if they should occur.
                                   27
                                   28
                                        ///

                                        CLASS ACTION COMPLAINT                    2
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                                   1                                JURISDICTION & VENUE
                                   2
                                         5.   Original subject matter jurisdiction is valid in U.S. District Court for
                                   3
                                              violations of the FCRA pursuant to 28 U.S.C. § 1331.
                                   4
                                         6.   Venue is proper in this District under 28 U.S.C. § 1391(b) because Defendant
                                   5
                                              transacts business here and because Plaintiff has resided in this District at all
                                   6
                                              times relevant to these claims such that a substantial part of the events giving
                                   7
                                              rise to Plaintiff’s causes of action against Defendant occurred within this
                                   8
                                              judicial district.
                                   9
                                         7.   Venue is also proper in U.S. District Court, Southern District of California,
                                   10
                                              pursuant to 28 U.S.C. § 1391(b) because Defendant is deemed to reside in any
                                   11
                                              judicial district in which they are subject to personal jurisdiction at the time
                                   12
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                                              the action is commenced, and because Defendant’s contacts with this District
                                   13
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                                              are sufficient to subject them to personal jurisdiction.
                                   14
                                   15                               PARTIES & DEFINITIONS
                                   16
                                   17    8.   Plaintiff is, and at all times mentioned herein a natural person, individual

                                   18         citizen and resident of the State of California, County of San Diego, in this

                                   19         judicial district. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1681a(c)

                                   20         of the FCRA.

                                   21    9.   Plaintiff is informed and believes, and thereon alleges, that Trans Union is,

                                   22         and at all times mentioned herein was, a limited liability company registered

                                   23         in Delaware with its principal place of business located in Illinois.

                                   24    10. Plaintiff alleges that at all times relevant herein Trans Union conducted

                                   25         business in the State of California, in the County of San Diego, within this

                                   26         judicial district.

                                   27    11. The causes of action herein pertain to Plaintiff’s “consumer credit reports,” as

                                   28         defined by 15 U.S.C. § 1681a(d)(1) of the FCRA, in that inaccurate


                                        CLASS ACTION COMPLAINT                     3
                                        Case 3:17-cv-00511-BEN-AGS Document 1 Filed 03/15/17 PageID.4 Page 4 of 14


                                   1
                                             misrepresentations of Plaintiff’s information were made via written, oral, or
                                   2
                                             other communication of information by a consumer credit reporting agency,
                                   3
                                             which is used or is expected to be used, or collected in whole or in part, for
                                   4
                                             the purpose of serving as a factor in establishing Plaintiff’s eligibility for,
                                   5
                                             among other things, credit to be used primarily for personal, family, or
                                   6
                                             household purposes, and employment purposes.
                                   7
                                   8                              FACTUAL ALLEGATIONS

                                   9
                                         12. Trans Union is a FCRA-governed “consumer reporting agency” that
                                   10
                                             selectively decides which information to provide to consumers that request
                                   11
                                             the FCRA-governed information in Defendant’s possession and which
                                   12
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                                             information it will hide from consumers.
                                   13
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                                         13. Upon information and belief, Defendant withholds certain information in
                                   14
                                             order to minimize its compliance costs and to avoid customer service
                                   15
                                             inquiries directed at them and their business partners or private vendors.
                                   16
                                         14. As mentioned above, these private vendors and/or business partners include
                                   17
                                             companies like LexisNexis (or “Lexis”), a third party that sells public record
                                   18
                                             information to Defendant and then, in turn, processes disputes regarding that
                                   19
                                             public record information via the "ACDV" system.
                                   20
                                         15. Upon information and belief, Defendant misrepresents the source of
                                   21
                                             consumers’ bankruptcy Public Record Information by falsely stating that a
                                   22
                                             given courthouse is the source of the Public Record Information, while
                                   23
                                             affirmatively hiding the true source of the Public Record Information.
                                   24
                                         16. On information and belief, Defendant does not obtain its Public Record
                                   25
                                             Information about bankruptcies form courthouses or actual government
                                   26
                                             entities.
                                   27
                                   28

                                        CLASS ACTION COMPLAINT                   4
                                        Case 3:17-cv-00511-BEN-AGS Document 1 Filed 03/15/17 PageID.5 Page 5 of 14


                                   1
                                             Defendant obtains information about bankruptcies, court judgments, and liens
                                   2
                                             from private vendors such as LexisNexis.
                                   3
                                         17. The Public Record Information provided on Trans Union credit reports is not
                                   4
                                             the actual court record, rather, an abbreviated version of the Public Record
                                   5
                                             Information, which does not contain all the information in actual public
                                   6
                                             records such as those of courthouses or the government. This leads to a large
                                   7
                                             number of mistakes reflected in the Public Record Information on consumers’
                                   8
                                             Trans Union credit reports.
                                   9
                                         18. The mistakes in consumer credit reports are seen by anyone that requests that
                                   10
                                             consumer’s file, and oftentimes cause injury to that consumer.
                                   11
                                         19. The FCRA requires credit reporting agencies including Defendant to “clearly
                                   12
                                             and accurately disclose to the consumer the sources of the information” in the
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                                   13
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                                             consumer’s credit report under15 U.S.C. § 1681g(a)(2).
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                                   14
                                         20. It is imperative that consumers know the true source of the Public Record
                                   15
                                             Information in their credit reports and have the ability to directly address the
                                   16
                                             true source of Public Record Information in order to ameliorate any mistakes
                                   17
                                             in the Public Record Information on credit reports.
                                   18
                                         21. On or around March 23, 2015, Plaintiff checked her Trans Union credit report
                                   19
                                             and the Public Record Information listed the source of Plaintiff’s Chapter 7
                                   20
                                             bankruptcy    information     as   “OKLAHOMA          FEDERAL      COURT      –
                                   21
                                             OKLAHOMA CITY Docket#: 910116 (215 DEAN A MCGEE AVENUE,
                                   22
                                             OKLAHOMA CITY, OK 72102, (405) 231-5141)”, rather than LexisNexis,
                                   23
                                             the actual source of the information.
                                   24
                                         22. The case number is listed as a “Docket#” and is not even the correct format
                                   25
                                             for a bankruptcy case number.
                                   26
                                         23. On or around May 4, 2016, Plaintiff checked her Trans Union credit report
                                   27
                                             and the Public Record Information listed the source of Plaintiff’s Chapter 7
                                   28
                                             bankruptcy    information     as   “OKLAHOMA          FEDERAL      COURT      –

                                        CLASS ACTION COMPLAINT                   5
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                                   1
                                             OKLAHOMA CITY Docket#: 910116 (215 DEAN A MCGEE AVENUE,
                                   2
                                             OKLAHOMA CITY, OK 72102, (405) 231-5141)”, rather than LexisNexis,
                                   3
                                             the actual source of the information.
                                   4
                                         24. Again, the information is not described properly and is not in the correct
                                   5
                                             format. But more importantly, Plaintiff believes the information did not come
                                   6
                                             from the “OKLAHOMA FEDERAL COURT” as stated by Defendant.
                                   7
                                         25. On December 20, 2016, Plaintiff filed a dispute of the Public Record
                                   8
                                             Information of her credit report online with Defendant regarding the source of
                                   9
                                             the public record information on her May 4, 2016 credit report.
                                   10
                                         26. Plaintiff specifically wrote in the dispute, “The source of the Public Records
                                   11
                                             information regarding the bankruptcy is incorrect.”
                                   12
                                         27. On December 23, 2016, Defendant completed its investigation of Plaintiff’s
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                                   13
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                                             dispute, and the Public Record Information remained unchanged, listing the
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                                   14
                                             source of the Public Record Information as “OKLAHOMA FEDERAL
                                   15
                                             COURT – OKLAHOMA CITY Docket#: 910116 (215 DEAN A MCGEE
                                   16
                                             AVENUE, OKLAHOMA CITY, OK 72102, (405) 231-5141)”.
                                   17
                                         28. On information and belief, Defendant did not obtain its Public Record
                                   18
                                             Information concerning Plaintiff from the Oklahoma Federal Court. It would
                                   19
                                             be far too costly and cumbersome for Defendant to obtain that information
                                   20
                                             directly from the court, if it is even possible.
                                   21
                                         29. Bankruptcy courts have converted to electronic files and filing and now use
                                   22
                                             ECF and PACER. The bankruptcy courts do not have paper files for all the
                                   23
                                             bankruptcies that can be pulled to gather public record information.
                                   24
                                         30. Upon information and belief, Defendant obtained its Public Record
                                   25
                                             Information concerning Plaintiff from one of its private vendors and/or
                                   26
                                             business partners such as LexisNexis that most likely obtains the information
                                   27
                                             from PACER and then processes and organizes the information so Defendant
                                   28
                                             or Lexis can pair the information with consumer files.

                                        CLASS ACTION COMPLAINT                     6
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                                   1
                                         31. Defendant never identified LexisNexis or any other vendor as the source of
                                   2
                                             the public record information that makes its way into the consumer credit files
                                   3
                                             that it sells, or any of the other less publicized marketing or risk assessment
                                   4
                                             databases that it maintains.
                                   5
                                         32. Defendant unambiguously deprived Plaintiff of the true source of the valuable
                                   6
                                             Public Record Information, in violation of the FCRA.
                                   7
                                         33. At all times during the aforementioned actions, there was in full force and
                                   8
                                             effect the following obligations pertaining to Defendant, pursuant to 15
                                   9
                                             U.S.C. § 1681g(a)(2):
                                   10
                                   11                Every consumer reporting agency shall, upon request,
                                                     and subject to section 1681h(a)(1) of this title, clearly
                                   12                and accurately disclose to the consumer: The sources of
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                                   13                the information; except that the sources of information
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                                                     acquired solely for use in preparing an investigative
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                                   14                consumer report and actually used for no other purpose
                                   15                need not be disclosed: Provided, That in the event an
                                                     action is brought under this subchapter, such sources
                                   16                shall be available to the plaintiff under appropriate
                                   17                discovery procedures in the court in which the action is
                                                     brought.
                                   18
                                   19    34. At all times during the aforementioned actions, there was in full force and
                                   20        effect the following obligations pertaining to Defendant, pursuant to 15
                                   21        U.S.C. § 1681e(a)&(b) of the FCRA:
                                   22
                                   23                (a) Identity and purposes of credit users. Every consumer reporting
                                   24                agency shall maintain reasonable procedures designed to avoid
                                   25                violations of section 605 [15 USC § 1681c] and to limit the furnishing
                                   26                of consumer reports to the purposes listed under section 604 [15 USC
                                   27                § 1681b]. These procedures shall require that prospective users of the
                                   28                information identify themselves, certify the purposes for which the

                                        CLASS ACTION COMPLAINT                  7
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                                   1
                                                     information is sought, and certify that the information will be used for
                                   2
                                                     no other purpose. Every consumer reporting agency shall make a
                                   3
                                                     reasonable effort to verify the identity of a new prospective user and
                                   4
                                                     the uses certified by such prospective user prior to furnishing such
                                   5
                                                     user a consumer report. No consumer reporting agency may furnish a
                                   6
                                                     consumer report to any person if it has reasonable grounds for
                                   7
                                                     believing that the consumer report will not be used for a purpose listed
                                   8
                                                     in section 604 [15 USC § 1681b].
                                   9
                                   10
                                                     (b) Accuracy of report. Whenever a consumer reporting agency
                                   11
                                                     prepares a consumer report it shall follow reasonable procedures to
                                   12
                                                     assure maximum possible accuracy of the information concerning the
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                                   13
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                                                     individual about whom the report relates.
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                                   14
                                                                   CLASS ACTION ALLEGATIONS
                                   15
                                         35. Plaintiff brings this action on behalf of herself and on behalf of all others
                                   16
                                             similarly situated (the “Class”).
                                   17
                                         36. Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiff brings
                                   18
                                             this action for herself and on behalf of a Class defined as follows:
                                   19
                                                     All persons within the United States who (a) requested
                                   20                their consumer credit reports from Trans Union or any of
                                   21                its affiliated companies, subsidiaries, or any other Trans
                                                     Union entity (b) within the five years prior to the filing of
                                   22                this Complaint and during its pendency and (c) to whom
                                   23                Trans Union provided a response that did not include any
                                                     reference to its public records vendor as the source of
                                   24                public records information within the consumer's file
                                   25                disclosure.

                                   26    37. Defendant and its employees or agents are excluded from the Class.

                                   27    38. Plaintiff incorporates the prior allegations and estimates that the class is so

                                   28        numerous that joinder of all members is impractical. Although the precise


                                        CLASS ACTION COMPLAINT                    8
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                                   1
                                             number of Class members is known only to Defendant, Trans Union sends
                                   2
                                             tens of thousands of consumer credit report disclosures per year, and
                                   3
                                             Defendant's uniform practice and procedure is to always omit the true source
                                   4
                                             of its public records information from such disclosures.            Accordingly,
                                   5
                                             Plaintiff estimates that the class size numbers in the thousands.
                                   6
                                         39. Upon information and belief, the consumer credit reports for Plaintiff and the
                                   7
                                             member of the Class do not contain the actual source of the public records
                                   8
                                             information that it reported about the Plaintiffs and the putative class
                                   9
                                             members. This omission has remained consistent and uniform across time,
                                   10
                                             jurisdictions, and consumers.
                                   11
                                         40. There are questions of law and fact common to the Class, which common
                                   12
                                             issues predominate over any issues involving only individual class members.
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                                   13
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                                             For example and without limitation:
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                                   14
                                                 a. whether Defendant misrepresented the true source of its Public
                                   15
                                                     Record Information in its consumer credit report disclosures;
                                   16
                                                 b. whether this failure was a result of the Defendant's standard operating
                                   17
                                                     procedure when responding to a consumer's request for a full copy of
                                   18
                                                     her or her credit, file;
                                   19
                                                 c. whether the Defendant's conduct constituted a violation of the FCRA;
                                   20
                                                 d. whether the Defendant's conduct was willful; and
                                   21
                                                 e. the appropriate amount of statutory and/or punitive damages that are
                                   22
                                                     appropriate for such a violation.
                                   23
                                         41. Plaintiff's claims are typical of those of the Class members. All are based on
                                   24
                                             the same facts and legal theories.      Defendant's response to a consumer's
                                   25
                                             request for a full copy of his or her consumer credit report routinely failed to
                                   26
                                             include any information about source of Public Record Information included
                                   27
                                             on disclosures sent during the full class period. The violations alleged are the
                                   28

                                        CLASS ACTION COMPLAINT                   9
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                                   1
                                              same and the class claim will rise and fall entirely based upon whether or not
                                   2
                                              Plaintiff's claim rises or falls.
                                   3
                                          42. Plaintiff will fairly and adequately protect the interests of the Class. Plaintiff
                                   4
                                              has retained counsel experienced in handling actions involving unlawful
                                   5
                                              practices against consumers and class actions.         Neither Plaintiff nor her
                                   6
                                              counsel has any interest that might cause her not to vigorously pursue this
                                   7
                                              action. Plaintiff is aware of her responsibilities to the putative classes and has
                                   8
                                              accepted such responsibilities.
                                   9
                                          43. Certification of a class under Rule 23(b)(l) of the Federal Rules of Civil
                                   10
                                              Procedure is proper. Prosecuting separate actions by or against individual
                                   11
                                              class members would create a risk of adjudications with respect to individual
                                   12
                                              class members that, as a practical matter, would be dispositive of the interests
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                                              of the other members not parties to the individual adjudications or would
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                                   14
                                              substantially impair or impede their ability to protect their interests.
                                   15
                                          44. Certification of a class under Rule 23(b)(2) of the Federal Rules of Civil
                                   16
                                              Procedure is appropriate in that the Defendant has acted on grounds generally
                                   17
                                              applicable to the class thereby making appropriate declaratory relief with
                                   18
                                              respect to the class as a whole.
                                   19
                                          45. Certification of the Class under Rule 23(b)(3) of the Federal Rules of Civil
                                   20
                                              Procedure is also appropriate in that:
                                   21
                                                   a. As alleged above, the questions of law or fact common to the
                                   22
                                                      members of the Class predominate over any questions affecting an
                                   23
                                                      individual member. Each of the common facts and legal questions in
                                   24
                                                      the case overwhelm the more modest individual damages issues.
                                   25
                                                      Further, those individual issues that do exist can be effectively
                                   26
                                                      streamlined and resolved in a manner that minimizes the individual
                                   27
                                                      complexities and differences in proof in the case.
                                   28

                                         CLASS ACTION COMPLAINT                    10
                                        Case 3:17-cv-00511-BEN-AGS Document 1 Filed 03/15/17 PageID.11 Page 11 of 14


                                   1
                                                    b. A class action is superior to other available methods for the fair and
                                   2
                                                       efficient adjudication of the controversy. Consumer claims generally
                                   3
                                                       are ideal for class treatment as they involve many, if not most,
                                   4
                                                       consumers who are otherwise disempowered and unable to afford and
                                   5
                                                       bring such claims individually. Further, most consumers affected by
                                   6
                                                       the Defendant's FCRA violation would likely be unaware of their
                                   7
                                                       rights under the law, or who they could find to represent them in
                                   8
                                                       federal litigation. Additionally, individual litigation of the uniform
                                   9
                                                       issues in this case would be a waste of judicial resources. The issues
                                   10
                                                       at the core of this case are class wide and should be resolved at one
                                   11
                                                       time. One win for one consumer would set the law as for every
                                   12
                                                       similarly situated consumer.
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                                   13
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                                          46. The Defendant's failure to disclose all information in the consumer’s credit
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                                   14
                                                report, including the sources of the Public Record Information, in response to
                                   15
                                                a consumer's request for this information violated 15 U.S.C. § 168lg(a)(2) and
                                   16
                                                15 U.S.C. § 1681e(a)&(b) as to the Plaintiff and the Class members.
                                   17
                                          47. The conduct, action, and inaction of the Defendant was willful, rendering the
                                   18
                                                Defendant liable for statutory and punitive damages in an amount to be
                                   19
                                                determined by the Court pursuant to 15 U.S.C. § 1681n.
                                   20
                                          48. Plaintiff and the Class members are entitled to recover costs and attorney's
                                   21
                                                fees, as well as appropriate equitable relief, from the Defendant, in an amount
                                   22
                                                to be determined by the Court pursuant to 15 U.S.C. § 1681n.
                                   23
                                          49. In the alternative, the violation was negligent entitling the Plaintiffs and the
                                   24
                                                class to actual damages in the amount of the value of their consumer
                                   25
                                                disclosure.
                                   26
                                   27     ///
                                   28     ///

                                         CLASS ACTION COMPLAINT                    11
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                                   1                                      CAUSE OF ACTION
                                   2                                 FAIR CREDIT REPORTING ACT
                                                                       15 U.S.C. § 1681 ET SEQ.
                                   3
                                   4      50. Plaintiff incorporates by reference all of the above paragraphs of this
                                   5            Complaint as though fully stated herein.
                                   6      51. The foregoing acts and omissions constitute numerous and multiple violations
                                   7            of the FCRA.
                                   8      52. As a credit reporting agency, Trans Union is required to comply with 15
                                   9            U.S.C. § 1681g(a)(2) of the FCRA.
                                   10     53. Trans Union violated 15 U.S.C. § 1681g(a)(2) by failing to clearly and
                                   11           accurately disclose to Plaintiff and the Class the sources that supplied any
                                   12           information to the credit-reporting agency about Plaintiff and the Class.
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                                   13
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                                          54. Plaintiff is informed and believes that Trans Union violated 15 U.S.C. §§
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                                   14           1681e(a)&(b) of the FCRA by maintaining the very inaccurate information
                                   15           about which Plaintiff reported.
                                   16     55. As a result of each and every violation of the FCRA, Plaintiff and the Class
                                   17           are entitled to actual damages, pursuant to 15 U.S.C. § 1681o(a)(1); and
                                   18           reasonable attorney fees and costs pursuant to 15 U.S.C. § 1681o(a)(2).
                                   19     56. As a result of each and every willful violation of the FCRA, Plaintiff and the
                                   20           Class are also entitled to and seek actual damages of $100.00 to $1,000.00 per
                                   21           violation and such amount as the court may allow, pursuant to 15 U.S.C. §
                                   22           1681n(a)(1)(A); punitive damages as the court may allow, pursuant to 15
                                   23           U.S.C. § 1681n(a)(2); and reasonable attorney fees and costs pursuant to 15
                                   24           U.S.C. § 1681n(a)(3).
                                   25     ///
                                   26     ///
                                   27     ///
                                   28     ///

                                         CLASS ACTION COMPLAINT                    12
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                                    1
                                                                       PRAYER FOR RELIEF
                                    2
                                               WHEREFORE, Plaintiff and the Class members pray for judgment as
                                    3
                                         follows against Defendant:
                                    4
                                               • Certify the Class as requested herein;
                                    5
                                               • Appoint Plaintiff to serve as the Class Representative in this matter;
                                    6
                                               • Appoint Plaintiff’s Counsel as Class Counsel in this matter;
                                    7
                                               • Provide such further relief as may be just and proper.
                                    8
                                               In addition, Plaintiff and the Class members pray for further judgment as
                                    9
                                         follows against Defendant:
                                   10
                                   11                                  FAIR CREDIT REPORTING ACT
                                                                         15 U.S.C. § 1681 ET SEQ.
                                   12
                                               • Actual damages pursuant to 15 U.S.C. § 1681o(a)(1);
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                                               • Statutory damages of $1,000.00 per violation per plaintiff, per month of
    C OSTA M ESA , CA 92626




                                   14
                                                  reporting, pursuant to 15 U.S.C. § 1681n(a)(1);
                                   15
                                               • Punitive damages as the court may allow pursuant to 15 U.S.C. §
                                   16
                                                  1681n(a)(2);
                                   17
                                               • Injunctive relief to command Trans Union to correct the information
                                   18
                                                  furnished on Plaintiff’s and the Class’s credit reports and prohibit them
                                   19
                                                  from engaging in future violations;
                                   20
                                               • Attorney fees and costs to maintain the instant action, pursuant to 15
                                   21
                                                  U.S.C. §§ 1681n(a)(3) and 1681o(a)(2);
                                   22
                                               • Any other relief the Court may deem just and proper including interest.
                                   23
                                   24 ///
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                                   26 ///
                                   27 ///
                                   28 ///

                                         CLASS ACTION COMPLAINT                  13
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                                   1
                                                                            TRIAL BY JURY
                                   2
                                          57. Pursuant to the Seventh Amendment to the Constitution of the United States
                                   3
                                              of America, Plaintiff is entitled to, and demand, a trial by jury.
                                   4
                                   5
                                         Dated: March 15, 2017                          Respectfully submitted,
                                   6
                                                                                        KAZEROUNI LAW GROUP, APC
                                   7
                                   8                                                    By: s/ ABBAS KAZEROUNIAN
                                                                                              ABBAS KAZEROUNIAN, ESQ.
                                   9 Additional Plaintiff’s Counsel:
                                   10
                                         HYDE & SWIGART
                                   11    Joshua B. Swigart, Esq. (SBN: 225557)
                                   12    josh@westcoastlitigation.com
                                         Yana A. Hart, Esq. (SBN: 306499)
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                                         CLASS ACTION COMPLAINT                    14
